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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                               )


                            )
In Re: PHARMACEUTICAL )
INDUSTRY AVERAGE WHOLESALE )
PRICE LITIGATION )                                     MDL No. 1456
                            )
                            )                          Master File No. 01-CV-12257-PBS
                            )
THIS DOCUMENT RELATES TO:   )                          Judge Patti B. Saris
Class 1 Johnson & Johnson   )
                            )
                        DECLARATION OF BARBARA J. COBUZZI

               I, Barbara J. Cobuzzi, declare under penalty of perjury as follows:

        1.     I am the President and CEO of CRN Healthcare Solutions, which provides

consulting services to medical practices. I have held this position since 2005. From 1993-2005,

I was President and CEO of Cash Flow Solutions, Inc., which provided medical billing and

practice management, consulting, training, and education services. A copy of my curriculum

vitae is attached as Exhibit A. I submit this declaration in support of the Johnson & Johnson

Defendants' Motion Challenging Plaintiffs' Proposed Class Representative.

       2.      I am personally familiar with the facts set forth in this declaration. If called as a

witness, I would competently testify to the matters stated herein.

       3.      At the request of counsel for the Johnson & Johnson Defendants, I reviewed all of

the medical and billing records for Mrs. Jimmie Oustad that Plaintiffs provided to the Johnson &

Johnson Defendants in this case. These records consisted of documents bearing Bates numbers

JOUSTAD00001 through JOUSTAD00632.

       4.      Based on my review of these records, I have concluded that none of them provide

any evidence that Mrs. Oustad paid for Remicade® or Procrit® during the class period, i.e.,
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during the period commencing on January 1, 1991 and ending on December 31, 2003.

              I declare under penalty of perjury that the foregoing is true and correct.




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                                                                                          0°C-
                                            Barbara J. Cobuzzi

Executed on this 36tay of September 2010




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